
PETERS, J.
hFor the reasons assigned in Rebel Distributors, Inc. v. LUBA Workers’ Compensation, 12-909 (La.App. 3 Cir.4/2/14), 137 So.3d 91, 2014 WL 1317609, we affirm the judgment of the workers’ compensation judge in all respects. We assess costs of *113this appeal equally between the plaintiff, Rebel Distributors Corp., Inc. d/b/a Physician Partner and Pharmacy Partner, and the defendants, LUBA Casualty Insurance Company and Juan Burciaga, Sr. General Contractor, LLC.
AFFIRMED.
THIBODEAUX, Chief Judge, dissents in part and assigns written reasons, with the exceptions of No. 12-923 and No. 12-924.
